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              IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF FLORIDA
                         OCALA DIVISION

      ROJAS, et al.,                 )
                                     )
      Plaintiffs,                    )
                                     )   Case No. 5:14-cv-00651-TJC-PRL
      v.                             )
                                     )
      CITY OF OCALA, et al.,         )
                                     )
      Defendant.                     )


 JOINT MOTION TO STAY PROCEEDINGS PENDING APPLICATION
  FOR WRIT OF CERTIORARI AND DISPOSITION OF THE CASE BY
                   THE SUPREME COURT

      Plaintiffs Lucinda Hale and Art Rojas, and Defendant City of Ocala (the

“City”) (collectively the “Parties”), by and through undersigned counsel and

pursuant to Local Rules 3.01(a) and (g), respectfully move for a stay of

proceedings in this case pending the Supreme Court’s decision on Defendant

City of Ocala’s application for writ of certiorari filed on September 22, 2022. In

support, the Parties state as follows:

      I.    Procedural History and Background

      On June 25, 2022, Defendants City of Ocala and Chief Graham filed their

notice of appeal to the United States Court of Appeals for the Eleventh Circuit

(Dkt. 91), from the Order denying the summary judgment motion of the




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Defendants City of Ocala and Chief Graham, and granting the summary

judgment motion of Plaintiffs entered on May 24 2018 (Dkt. 88). 1

      On July 22, 2022, the Eleventh Circuit Court of Appeals issued its

opinion vacating and remanding the case. Relying on prior decisions regarding

Article III standing in the Establishment Clause context, issued its opinion

and agreed with the district court that Hale “had alleged ‘more than a mere

interest in the matter,’ and because she was injured, she has standing to bring

this lawsuit.” Rojas, et al v. City of Ocala, Case No. 19-12679, slip op. at 6 (11th

Cir. July 22, 2022) (citing ACLU of Ga. v. Rabun Cnty. Chamber of Com., Inc.,

698 F.2d 1098, 1108 (11th Cir. 1983)). 2 In addition to finding that Hale had

standing to press her Establishment Clause claim, the Court reversed the

district court’s summary judgment ruling in Plaintiffs’ favor. It remanded the

case to the district court to evaluate the facts in light of the Supreme Court’s

decision in Kennedy v. Bremerton Sch. Dist., 142 S. Ct. 2407 (2022), and “the

historical practices and understandings standard endorsed” in that case. Id. at

8.


1 As the Eleventh Circuit summarized Plaintiff Daniel Hale died while this
appeal was pending. The two plaintiffs who remain parties in this case are Art
Rojas and Lucinda Hale (Daniel Hale’s widow). Additionally, Defendant Chief
of Police, Greg Graham died while the appeal was pending and plaintiffs took
no action to substitute any party for Graham. The only defendant who remains
a party is the City of Ocala. Op. at 3, fn. 1.
2 Because the panel held that Hale had standing, it did not need to resolve

whether Plaintiff Rojas did. Id. at 7.
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       On August 31, 2022, and following denial of Defendant City’s motion for

stay of the issuance of the mandate pending petition for writ of certiorari on

August 23, 2022, the Eleventh Circuit’s mandate issued.

       On September 13, 2022, this Court instructed the Parties to confer and

file a proposed briefing schedule no later than October 14, 2022. (Dkt. 124)

       On September 22, 2022, Defendant City filed its petition for writ of

certiorari with the Supreme Court pursuant to Sup. Ct. R. 13(1). Defendant’s

petition was docketed on September 23, 2022. 3

       II.   Legal Authority and Argument

   “The power to stay proceedings is incidental to the power inherent in every

court to control the disposition of the causes on its docket with economy of time

and effort for itself, for counsel, and for litigants.” Landis v. N. Am. Co., 299

U.S. 248, 254 (1936). “‘Federal courts routinely exercise their power to stay a

proceeding where a stay would promote judicial economy and efficiency,’ . . .

especially when the related matter is ‘likely to have a substantial or controlling

effect on the claims and issues in the stayed case.’” Morrissey v. Subaru of Am.

, Inc., Case No. 1:15-cv-21106, 2015 U.S. Dist. LEXIS 96810, at 4 (S.D. Fla.

July 24, 2015) (quoting Miccosukee Tribe of Indians of Fla. Water Mgmt. Dist.,


3See

https://www.supremecourt.gov/Search.aspx?FileName=/docket/docketfiles/ht
ml/public\22-278.html

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559 F.3d 1191, 1198 (11th Cir. 2009) (other citations omitted). “So long as a

stay does not prove ‘immoderate’—that is to say, too long, too indefinite, or

without proper justification—the decision to stay is bounded only by

the district court's discretion.” Gray v. Target Corp., No. 13-62769-Civ, 2014

WL 12600138, at *1 (S.D. Fla. Jan. 27, 2014) (Scola, J.) (citing Ortega Trjillo v.

Conover & Co. Commc’ns, 221 F.3d 1262, 1264 (11th Cir. 2000)).

      A stay is warranted here where the City’s petition for certiorari seeks

Supreme Court review on an important threshold issue in this case: whether

Plaintiffs’ standing is consistent with Article III and, thus, whether Plaintiffs

have standing to press their Establishment Clause claims in this case. Should

the Supreme Court grant review, a ruling may resolve the issues in this case.

McCamey v. Capital Mgmt., 2017 U.S. Dist. LEXIS 234329, at *2 (granting

parties’ joint motion to stay proceedings until Supreme court denies review or

issues an opinion) (citing Pantoja v. Portfolio Recovery Assocs., LLC, 852 F.3d

679 (7th Cir. 2017)).

      The Parties’ request for a stay is also appropriate here because it is

moderate and contains a “definite and imminent end point.” Morrissey, Case

No. 2015 U.S. Dist. LEXIS 9681, at *6 (contrasting the “immoderate” stay in

Ortega that was indefinite and “appears to expire only after a trial of [another]

case and the exhaustion of appeals in that case,” with one that is moderate and



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will terminate upon specific resolution of an issue and the court’s “adjudication

of the jurisdiction and change of venue issues”).

        Accordingly, a stay in this case is justified and appropriate because it

will promote judicial economy and efficiency by avoiding litigation of issues

that may become irrelevant or moot. For the foregoing reasons, the Parties

respectfully requests this Court to stay proceedings in this case pending

decision on and/or final disposition of Defendant’s petition for a writ of

certiorari by the Supreme Court.


Date:         September 26, 2022            Respectfully submitted,

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                       CERTIFICATE OF SERVICE

       I hereby certify that on September 26, 2022, the foregoing document

 was filed electronically. Notice of this filing will be sent by operation of

 the Court’s electronic filing system to all parties indicated on the electronic

 filing receipt. All other parties will be served by regular U.S. mail. Parties

 may access this filing through the Court’s electronic filing system.




                               /s/Abigail A. Southerland
                               Abigail A. Southerland




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